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EXHIBIT O
‘Case 2:08-cv-01021-PSG-RC Document 9-16 Filed 02/19/08 Page 2of19 Page ID #:277

1 | Geraldine A. Wyle (SBN 89735) LOS AN FILED
Jeryll S. Cohen (SBN 125392) GELES SUPERIOR COURT
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7
8 SUPERIOR COURT OF THE STATE OF CALIFORNIA
9 COUNTY OF LOS ANGELES, CENTRAL DISTRICT
10
; BP/O§ 870
11 In re the Conservatorship of the Person of: CASE NO. BP O s
12 | BRITNEY JEAN SPEARS, NOTICE OF LODGING OF NON-
CALIFORNIA AUTHORITY CITED IN
13 Proposed Conservatee. SUPPLEMENTAL MEMORANDUM OF
POINTS AND AUTHORITIES IN
14 SUPPORT OF APPLICATION TO SEAL
RECORD RE CONSERVATORSHIP OF
15 THE PERSON
16 Date: February 1, 2008
Time: 10:30 a.m
17 Department: 11
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NOTICE OF LODGING OF NON-CA AUTH. CITED IN APPLICATION TO SEAL RECORD

Case 2:08-cv-01021-PSG-RC Document 9-16 Filed 02/19/08 Page 3of19 Page ID #:278

1 Applicant Jamie Spears lodges the following non-California authority cited in his
2 Supplemental Memorandum of Points and Authorities:

3 A Press-Enterprise Co. v. Superior Court, 478 U.S. 1 (1986)

4 DATED: February 1, 2008 Respectfully submitted,

, HAMILTON & SCRIPPS LLP

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NOTICE OF LODGING OF NON-CA AUTH. CITED IN APPLICATION TO SEAL RECORD

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LEXSEE 478 US 1

PRESS-ENTERPRISE CO. v. SUPERIOR COURT OF CALIFORNIA FOR THE
COUNTY OF RIVERSIDE

No. 84-1560

SUPREME COURT OF THE UNITED STATES

478 U.S. 1; 106 8. Ct. 2735; 92 L. Ed. 2d 1; 1986 U.S. LEXIS 120; 54 U.S.L.W. 4869;
13 Media L. Rep. 1001

February 26, 1986, Argued
June 30, 1986, Decided

PRIOR HISTORY: CERTIORARI TO THE
SUPREME COURT OF CALIFORNIA.
DISPOSITION: 37 Cal. 3d 773, 691 P. 2d 1026,
reversed.

DECISION:

Qualified First Amendment right of public access
held to attach to preliminary hearings in criminal cases
as conducted in California.

SUMMARY:

Under the Califomia penal code, an accused has an
absolute right to a preliminary hearing before a neutral
magistrate. The accused has the right to appear
personally at the hearing, to be represented by counsel,
to cross-examine hostile witnesses, to present
exculpatory evidence, and to exclude illegally obtained
evidence. If the magistrate determines that probable
cause exists, the accused is bound over for trial. A nurse
was charged by the state of California with murdering 12
patients by administering massive doses of a heart drug.
A preliminary hearing commenced, and the accused
moved to exclude the public under a California statute
requiring such proceedings to be open unless exclusion
of the public is necessary in order to protect the
accused's right to a fair and impartial trial. The
magistrate granted the motion, finding that closure was
necessary because the case had attracted national
publicity and that the media might report only one side
of the case. At the conclusion of the 41-day hearing, a
newspaper publisher asked that the transcript of the
proceedings be released, but the magistrate refused and
sealed the record. The state, later joined by the publisher,
moved in California Superior Court to have the transcript

released to the public, but the court, finding that there
was a reasonable likelihood that release might prejudice
the accused's right to a fair and impartial trial, ordered
that the transcript remain sealed. The publisher then filed
a peremptory writ of mandate with the California Court
of Appeal, which ultimately denied the writ. Meanwhile,
the accused waived his right to a jury trial and the
Superior Court released the transcript. The California
Supreme Court then denied the publisher's peremptory
writ of mandate, holding (1) that there is no general First
Amendment right of access to preliminary hearings, and
(2) that under the California access statute, if the accused
establishes a “reasonable likelihood of substantial
prejudice," the burden shifts to the state or the media to
show by a preponderance of the evidence that there is no
such reasonable probability of prejudice (37 Cal 3d 772,
691 P2d 1026).

On certiorari, the United States Supreme Court
reversed. In an opinion by Burger, Ch. J., joined by
Brennan, White, Marshall, Blackmun, Powell, and
O'Connor, JJ., it was held that (1) a qualified First
Amendment right of public access attaches to preliminary
hearings as they are conducted in California, since (a)
there has been a tradition of accessibility to preliminary
hearings of this type, and (b) public access to such
hearings is essential to the proper functioning of the
criminal justice system, (2) such hearings cannot be
closed unless specific, on-the-record findings are made
demonstrating that closure is essential to preserve higher
values and is narrowly tailored to serve that interest, (3)
if the interest asserted is the right of the accused to a fair
trial, a preliminary hearing can be closed only if specific
findings are made demonstrating that (a) there is a
substantial probability that the accused's right to a fair
trial will be prejudiced by publicity that closure would
prevent, and (b) reasonable alternatives to closure cannot
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adequately protect the accused's fair trial rights, and (4)
the standard applied by the California Supreme Court
failed to consider the public's First Amendment right of
access.

Stevens, J., joined by Rehnquist, J., as to (2) and (3),
below, dissented, expressing the view that (1) the risk of
prejudice to the accused's right to a fair trial in this case
was more significant than the countervailing interest in
publishing the transcript sooner rather than later, (2) the
framers and ratifiers of the First Amendment could not
have intended preliminary proceedings to remain open,
and (3) the majority's reasoning based on the "value of
openness" was defective because it applied with as much
force to the traditionally secret grand jury.

LAWYERS' EDITION HEADNOTES:

[***LEdHN1]
CONSTITUTIONAL LAW §944
TRIAL §2.5

First Amendment -- public access -- preliminary
hearing --

Headnote:{1A][1BJ[1C]

A qualified First Amendment right of public access
attaches to a preliminary hearing, growing out of a
criminal prosecution, as it is conducted in California, in
which by statute the accused has the right to appear
personally, to be represented by counsel, to cross-
examine hostile witnesses, to present exculpatory
evidence, and to exclude illegally obtained evidence, and
in which the accused is bound over for trial if the
magistrate determines that probable cause exists, since
(1) there has been a tradition of accessibility to
preliminary hearings of this type, (2) such a hearing,
because of its extensive scope, is often the final and most
important step in the criminal proceeding and often
provides the sole occasion for public observation of the
criminal justice system, and (3) the absence of a jury
makes the importance of public access even more
significant; denying transcripts of such a hearing would
frustrate the community therapeutic value of openness.
(Stevens and Rehnquist, JJ., dissented from this holding.)

[***LEdHN2]
CONSTITUTIONAL LAW §944
TRIAL §2.5
preliminary hearing -- closure --

Headnote:(2A][2B]

A preliminary hearing to which a qualified First
Amendment right of public access attaches cannot be
closed unless specific, on-the-record findings are made
demonstrating that closure is essential to preserve higher
values and is narrowly tailored to serve that interest; if
the interest asserted is the right of the accused to a fair
trial, the preliminary hearing may be closed only if
specific findings are made demonstrating that (1) there is
a substantial probability that the accused's right to a fair
trial will be prejudiced by publicity that closure would
prevent, and (2) reasonable alternatives to closure cannot
adequately protect the accused's fair trial rights.

[***LEdHN3]
CONSTITUTIONAL LAW §944
TRIAL §2.5
preliminary hearing -- closure --
Headnote:[3A][3B]

A state court, interpreting a state statute that permits
the closure of a preliminary hearing, of the kind to which
a qualified First Amendment right of a public access
attaches, if exclusion of the public is necessary in order
to protect the accused's right to a fair and impartial trial,
applies a standard that fails to consider the public's First
Amendment right where (1) the court miles that the
magistrate shall close the preliminary hearing upon
finding a reasonable likelihood of substantial prejudice,
since the "reasonable likelihood" test places a lesser
burden on the accused than the "substantial probability"
test that is called for by the First Amendment, and (2) the
court fails to consider whether alternatives short of

complete disclosure would protect the accused's
interests.
[***LEdHN4]

APPEAL §1662
mootness -- evading review -- trial closure --
Headnote:[4]

A newspaper publisher's challenge to a state court's
initial refusal to release the transcript of a preliminary
hearing in a criminal se is not moot, on certiorari to the
United States Supreme Court, even though the transcript
has already been released following the accused's waiver
of a jury trial, where (1) it can reasonably be assumed
that the publisher will be subjected to a similar closure
order in the future, (2) such criminal proceedings are
typically of short duration, and (3) the controversy is
thus capable of repetition, yet evading review.
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[***LEdHNS}]
CONSTITUTIONAL LAW §944
CRIMINAL LAW 847.5
TRIAL $2.5
public tral --
Headnote:[SA][5B]

One of the important means of assuring a fair trial is
that the process be open to neutral observers; the right to
an open public trial is a shared right of the accused under
the Sixth Amendment and the public under the First
Amendment.

[***LEdHN6]
CRIMINAL LAW §47.5
TRIAL §2.5
suppression hearing --
Headnote:[6]

A suppression hearing must be open if the accused
objects to its closure, unless the party seeking to close
the hearing advances an overriding interest that is likely
to be prejudiced.

[***LEdHN7]
CONSTITUTIONAL LAW §944
TRIAL §2.5
publicity -- preliminary hearing --
Headnote:[7]

It cannot properly be said that the public's First
Amendment right to a public trial is not implicated in the
case of a preliminary hearing on the ground that the
proceeding 1s not a criminal trial; the First Amendment
question cannot be resolved solely on the label given to
the event, whether "trial" or otherwise, particularly
where the preliminary hearing functions much like a full
scale criminal trial.

[***LEdHN8]
GRAND JURY §4
secrecy --

Headnote:[8]

The proper functioning of our grand jury system
depends upon the secrecy of grand jury proceedings.

[***LEdHN9]
CONSTITUTIONAL LAW §944
TRIAL §2.5
publicity --
Headnote:{9]

There are some limited circumstances in which the
accused's right to a fair trial might be undermined by
publicity; in such cases, the trial court must determine
whether the situation is such that the rights of the
accused override the qualified First Amendment right of
access.

{***LEdHN10]
TRIAL §2.5
closure --
Headnote:[10A][10B]

The protection of victims of sex crimes from the
trauma and embarrassment of public scrutiny may justify
closing certain aspects of a criminal proceeding.

[***LEdHN11]
TRIAL §2.5
publicity -- suppression hearing --
Headnote:[11]

A risk of prejudice resulting from pretrial publicity
does not automatically justify refusing public access to
hearings on every motion to suppress, since a court can
identify, through the process of voir dire, those jurors
whose prior knowledge of the case would disable them
from rendering an impartial verdict.

SYLLABUS

California filed a complaint against a nurse
chargmg him with murdering 12 patients by
administering massive doses of the heart drug lidocaine.
The Magistrate granted the defendant's motion to
exclude the public from the preliminary hearing on the
complaint under a California statute that requires such
proceedings to be open unless "exclusion of the public is
necessary in order to protect the defendant's right to a
fair and impartial trial." At the conclusion of the 41-day
preliminary hearing, the Magistrate refused petitioner's
request that the transcript of the proceedings be released.
Thereafter, the State, supported by petitioner and
opposed by the defendant, moved unsuccessfully in the
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Califomia Superior Court to have the transcript released.
Petitioner then filed a peremptory writ of mandate with
the California Court of Appeal. Meanwhile, the
defendant waived his right to a jury trial, and the
Superior Court released the transcript. After holding that
the controversy was not moot, the Court of Appeal
denied the writ. The California Supreme Court also
denied the writ, holding that there is no general First
Amendment right of access to preliminary hearings, and
that under the California statute if the defendant
establishes a “reasonable likelihood of substantial
prejudice,” the burden shifts to the prosecution or the
media to show by a preponderance of the evidence that
there 1s no such reasonable probability of prejudice.

Held:

1. Even though the Superior Court ultimately
released the transcript in question, the case is not moot
because the controversy is “capable of repetition, yet
evading review." Globe Newspaper Co. v. Superior
Court, 457 U.S. 596, Gannett Co. v. DePasquale, 443
U.S. 368. Thus, this Court has jurisdiction. P. 6.

2. The qualified First Amendment right of access to
criminal proceedings applies to preliminary hearings as
conducted in California. First, there has been a tradition
of public accessibility to preliminary hearings of the type
conducted in California. As opposed to grand jury
proceedings, preliminary hearings conducted before
neutral and detached magistrates have been open to the
public. Second, public access to such preliminary
hearings is essential to the proper functioning of the
criminal justice system. This proper functioning is not
made any less essential by the fact that a preliminary
hearing cannot result in a conviction and the adjudication
is before a magistrate without a jury. The absence of a
jury makes the importance of public access even more
significant. Pp. 6-13.

3. Since a qualified First Amendment right of access
attaches to preliminary hearings as conducted in
California, the proceedings cannot be closed unless
specific, on the record findings are made demonstrating
that “closure is essential to preserve higher values and is
narrowly tailored to serve that interest." Press-Enterprise
Co. v. Superior Court, 464 U.S. 501, 510. If the interest
asserted is the defendant's right to a fair trial, the
preliminary hearing shall not be closed unless there is a
“substantial probability" that that right will be prejudiced
by publicity that closure would prevent and_ that
reasonable alternatives to closure cannot adequately
protect the right. Here, the "reasonable likelihood" test
applied by the California Supreme Court placed a lesser
burden on the defendant than the "substantial

probability" test required by the First Amendment.
Moreover, the court failed to consider whether
alternatives short of closure would have protected the
defendant's interests. Pp. 13-15.

COUNSEL: James D. Ward argued the cause for
petitioner. With him on the briefs was Sharon J. Waters.

Joyce Ellen Manulis Reikes argued the cause for
respondent. With her on the brief were Gerald J.
Geerlings and Glenn Robert Salter. Ephriam Margolin
filed a brief for Diaz, real party in interest. *

* Briefs of amici curiae urging reversal were
filed for the State of Califomia by John K. Van
de Kamp, Attorney General, Andrea Sheridan
Ordin and Steve White, Chief Assistant
Attorneys General, and Marian M. Johnston,
Deputy Attorney General; for the American Civil
Liberties Union et al. by Robert S. Warren, Rex
S. Heinke, and Charles S. Sims; for the American
Newspaper Publishers Association et al. by Bruce
W. Sanford, Lee Levine, W. Terry Maguire,
Richard M. Schmidt, Jr., George A. Vradenburg
III, Lawrence Gunnels, Mark L. Tuft, Robert D.
Sack, Alice Neff Lucan, E. Susan Garsh, Harvey
L. Lipton, Norton L. Armour, Robert J.
Brinkmann, Lois J. Schiffer, Samuel E. Klein,
Nancy H. Hendry, Jane E. Kirtley, Alexander
Wellford, P. Cameron De Vore, and Carol D.
Melamed; and for Copley Press, Inc., et al. by
Harold W. Fuson, Jr., Judith R. Epstein, Edward
J. McIntyre, William A. Niese, Donald L.
Zachary, Mark L. Tuft, Lawrence Gunnels,
Robert N. Landes, Kenneth M. Vittor, and
Jonathan Kotler.

Grover C. Trask II, pro se, filed a brief for
the District Attomey, County of Riverside, as
amicus curiae.

JUDGES: BURGER, C. J., delivered the opinion of the
Court, in which BRENNAN, WHITE, MARSHALL,
BLACKMUN, POWELL, and O'CONNOR, JJ., joined.
STEVENS, J., filed a dissenting opinion, in Part II of
which REHNQUIST, J., joined, post, p. 15.

OPINION BY: BURGER

OPINION

[*3] [***7] [**2737] CHIEF JUSTICE
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BURGER delivered the opinion of the Court.

[***LEdHRIA}] [LA] [***LEdHR2A] [2A]
[***LEdHR3A] [3A]We granted certiorari to decide
whether petitioner has a First Amendment right of access
to the transcript of a preliminary hearing growing out of
a criminal prosecution.

I

On December 23, 1981, the State of California filed
a complaint in the Riverside County Municipal Court,
charging Robert Diaz with 12 counts of murder and
seeking the death penalty. The complaint alleged that
Diaz, a nurse, murdered 12 patients by  [**2738]
administering massive doses of the heart drug lidocaine.
The preliminary hearing on the complaint commenced
on July 6, 1982. Diaz moved to exclude the public from
the proceedings under Cal. Penal Code Ann. § 868
(West 1985), which requires such proceedings to be [*4]
open unless "exclusion of the public is necessary in order
to protect the defendant's right to a fair and impartial
trial." | The Magistrate granted the unopposed motion,
finding that closure was necessary because the case had
attracted national publicity and "only one side may get
reported in the media." App. 22a.

1 Section 868, as amended in 1982, provides in
full:

“The examination shall be open and public.
However, upon the request of the defendant and a
finding by the magistrate that exclusion of the
public is necessary m order to protect the
defendant's right to a fair and impartial trial, the
magistrate shall exclude from the examination
every person except the clerk, court reporter and
bailiff, the prosecutor and his or her counsel, the
Attorney General, the district attomey of the
county, the investigating officer, the officer
having custody of a prisoner witness while the
witness is testifying, the defendant and his or her
counsel, the officer having the defendant in
custody and a person chosen by the prosecuting
witness who is not himself or herself a witness
but who is present to provide the prosecuting
witness moral support, provided that the person
so chosen shall not discuss prior to or during the
preliminary examination the testimony of the
prosecuting witness with any person, other than
the prosecuting witness, who is a witness in the
examination. Nothing in this section shall affect
the right to exclude witnesses as provided in
Section 687 of the Penal Code."

Before 1982, the statute gave the defendant
the unqualified nght to close the proceedings.
After the California Supreme Court rejected a
First Amendment attack on the old statute in San
Jose Mercury-News v. Superior Court, 30 Cal. 3d
498, 638 P. 2d 655 (1982), the California
Legislature amended the statute to include the
present requirement that the hearing be closed
only upon a finding by the magistrate that closure
is "necessary in order to protect the defendant's
right to a fair and impartial tral.”

The preliminary hearing continued for 41 days.
Most of the testimony and the evidence presented by the
State was medical and scientific; the remainder consisted
of testimony by personnel who worked with Diaz on the
shifts when the 12 patients died. Diaz did not introduce
any evidence, but his counsel subjected most of the
witnesses to vigorous crossexamination. Diaz was held
to [***8] answer on all charges. At the conclusion of
the hearing, petitioner Press-Enterprise [*5] Company
asked that the transcript of the proceedings be released.
The Magistrate refused and sealed the record.

On January 21, 1983, the State moved in Superior
Court to have the transcript of the preliminary hearing
released to the public; petitioner later joined in support
of the motion. Diaz opposed the motion, contending that
release of the transcript would result in prejudicial
pretrial publicity. The Superior Court found that the
information in the transcript was "as factual as it could
be," and that the facts were neither "inflammatory" nor
"exciting," but that there was, nonetheless, "a reasonable
likelihood that release of all or any part of the transcripts
might prejudice defendant's right to a fair and impartial
trial." [d., at 60a, 61a.

Petitioner then filed a peremptory writ of mandate
with the Court of Appeal. That court originally denied
the writ but, after being so ordered by the California
Supreme Court, set the matter for a hearing. Meanwhile,
Diaz waived his right to a jury trial and the Superior
Court released the transcript. After holding that the
controversy was not moot, the Court of Appeal denied
the writ of mandate.

The Califomia Supreme Court thereafter denied
petitioner's peremptory writ of mandate, holding that
there is no general First Amendment right of access to
preliminary hearings. 37 Cal. 3d 772, 691 P. 2d 1026
(1984). The court reasoned that the right of access to
criminal proceedings recognized in Press-Enterprise Co.
v. Superior Court, 464 U.S. 501 (1984) (Press-
Enterprise I), and Globe Newspaper Co. v. Superior
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Court, 437 U.S. 596 (1982), extended only to actual
criminal trials. 37 Cal. 3d, at 776, 691 P. 2d, at 1028.
[**2739] Furthermore, the reasons that had been
asserted for closing the proceedings in Press-Enterprise
J and Globe -- the interests of witnesses and other third
parties -- were not the same as the right asserted in this
case -- the defendant's right to a fair and impartial trial
by a jury uninfluenced by news accounts.

Having found no general First Amendment right of
access, the court then considered the circumstances in
which the closure [*6] would be proper under the
California access statute, Cal. Penal Code Ann. § 868
(West 1985). Under the statute, the court reasoned, if the
defendant establishes a “reasonable likelihood of
substantial prejudice" the burden shifts to the prosecution
or the media to show by a preponderance of the evidence
that there is no such reasonable probability of prejudice.
37 Cal. 3d, at 782, 691 P. 2d, at 1032.

We granted certiorari. 474 U.S. 899 (1985). We

reverse.
II

[***LEdHR4] [4]We must first consider whether
we have jurisdiction under Article II, § 2, of the
Constitution. In this Court, petitioner challenges the
Superior Court's original refusal to release the transcript
of the preliminary hearing. As noted above, the specific
relief petitioner seeks has already been granted -- the
transcript of the preliminary hearing was released after
Diaz waived his right to a jury trial. However, as in
Globe Newspaper, supra, at 603, [***9] and Gannett
Co. v. DePasquale, 443 U.S. 368, 377-378 (1979), this
controversy is "capable of repetition, yet evading
review.” It can reasonably be assumed that petitioner
will be subjected to a similar closure order and, because
criminal proceedings are typically of short duration, such
an order will likely evade review. Globe and Gannett,
therefore, require the conclusion that this case is not
moot. Accordingly, we turn to the merits.

Itt

It is important to identify precisely what the
California Supreme Court decided:

"[We] conclude that the magistrate shall close the
preliminary hearing upon finding a reasonable likelihood
of substantial prejudice which would impinge upon the
right to a fair trial. Penal code section 868 makes clear
that the primary right is the right to a fair trial and that
the public's right of access must give way when there is
conflict." 37 Cal. 3d, at 781, 691 P. 2d, at 1032.

[*7] [***LEdHRSA] [SA]It is difficult to disagree

in the abstract with that court's analysis balancing the
defendant's right to a fair trial against the public right of
access. It is also important to remember that these
interests are not necessarily inconsistent. Plainly, the
defendant has a right to a fair trial but, as we have
repeatedly recognized, one of the important means of
assuring a fair trial is that the process be open to neutral
observers.

[***LEdHR5B] [5B] [***LEdHR6] [6]The right to an
open public trial is a shared right of the accused and the
public, the common concern being the assurance of
fairness. Only recently, in Waller v. Georgia, 467 U.S.
39 (1984), for example, we considered whether the
defendant's Sixth Amendment right to an open trial
prevented the closure of a suppression hearing over the
defendant's objection. We noted that the First
Amendment right of access would in most instances
attach to such proceedings and that "the explicit Sixth
Amendment right of the accused is no less protective of a
public trial than the implicit First Amendment right of
the press and public.” /d., at 46. When the defendant
objects to the closure of a suppression hearing, therefore,
the hearing must be open unless the party seeking to
close the hearing advances an overriding interest that is
likely to be prejudiced. Jd, at 47.

[**2740] [***LEdHR7] [7]Here, unlike Waller, the
tight asserted is not the defendant's Sixth Amendment
right to a public trial since the defendant requested a
closed preliminary hearing. Instead, the right asserted
here is that of the public under the First Amendment. See
Gannett, supra, at 397 (POWELL, J., concurring). The
California Supreme Court concluded that the First
Amendment was not implicated because the proceeding
was not a criminal trial, but a preliminary hearing.
However, the First Amendment question cannot be
resolved solely on the label we give the event, i. ¢.,
"trial" or otherwise, particularly where the preliminary
hearing functions much like a full-scale trial.

[*8] In cases dealing with the claim of a First
Amendment right of access to criminal proceedings, our
decisions [***10] have emphasized two complementary
considerations. First, because a "tradition of
accessibility implies the favorable judgment of
experience," Globe Newspaper, 457 US. at 605
(quoting Richmond Newspapers, Inc. v. Virginia, 448
U.S. 555, 589 (1980) (BRENNAN, J., concurring in
judgment)), we have considered whether the place and
process have historically been open to the press and
general public.
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In Press-Enterprise I, for example, we observed that
“smce the development of trial by jury, the process of
selection of jurors has presumptively been a public
process with exceptions only for good cause shown."
464 U.S., at 505. In Richmond Newspapers, we reviewed
some of the early history of England's open trials from
the day when a trial was much like a "town meeting." In
the days before the Norman Conquest, criminal cases
were brought before "moots," a collection of the freemen
in the community. The public trial, “one of the essential
qualities of a court of justice” in England, was
recognized early on in the Colonies. There were risks, of
course, inherent in such a "town meeting" trial -- the risk
that it might become a gathering moved by emotions or
passions growing from the nature of a crime; a "lynch
mob" ambience is hardly conducive to calm, reasoned
decisionmaking based on evidence. Plainly the modern
trial with jurors open to interrogation for possible bias is
a far cry from the “town meeting trial" of ancient
English practice. Yet even our modern procedural
protections have their origin in the ancient common-law
principle which provided, not for closed proceedings, but
rather for rules of conduct for those who attend trials.
Richmond Newspapers, supra, at 567.

[***LEdHR8] [8]Second, in this setting the Court has
traditionally considered whether public access plays a
significant positive role in the functioning of the
particular process in question. Globe Newspaper, supra,
at 606. Although many governmental processes operate
best under public scrutiny, it takes little [*9]
imagination to recognize that there are some kinds of
goverment operations that would be totally frustrated if
conducted openly. A classic example is that "the proper
functioning of our grand jury system depends upon the
secrecy of grand Jury proceedings." Douglas Oil Co. v.
Petrol Stops Northwest, 441 U.S. 211, 218 (1979). Other
proceedings plainly require public access. In Press-
Enterprise I, we summarized the holdings of prior cases,
noting that openness in criminal trials, including the
selection of jurors, "enhances both the basic faimess of
the criminal trial and the appearance of fairness so
essential to public confidence in the system." 464 U.S,

at 5Ol.

[***LEdHR9] [9] [***LEdHRIOA] [10A]These
considerations of experience and logic are, of course,
related, for history and experience shape the functioning
of governmental processes. If the particular proceeding
in question passes these tests of experience and logic, a
qualified First Amendment right of public access
attaches. But even when a right of access attaches, it is

not absolute. Globe Newspaper Co. v. [***11]
Superior Court, supra, at 606. While open criminal
[**2741] proceedings give assurances of fairness to
both the public and the accused, there are some limited
circumstances in which the right of the accused to a fair
trial might be undermined by publicity. ? In such cases,
the trial court must determine whether the situation is
such that the nights of the accused override the qualified
First Amendment right of access. In Press-Enterprise I
we stated:

"{The] presumption may be overcome only by an
overriding interest based on findings that closure is
essential to preserve higher values and is narrowly
tailored to serve that interest. The interest is to be
articulated along with findings specific enough that a
reviewing court can [*10] determine whether the
closure order was properly entered." 464 U_S., at 510.

[***LEdHR10B] [10B]

2 Similarly, the interests of those other than the
accused may be implicated. The protection of
victims of sex crimes from the trauma and
embarrassment of public scrutiny may justify
closing certain aspects of a criminal proceeding.
See Globe Newspaper Co. v. Superior Court, 457
U.'S., at 607-610.

IV
A

(***LEdHRIB] [1B]The considerations that led
the Court to apply the First Amendment right of access to
criminal trials in Richmond Newspapers and Globe and
the selection of jurors in Press-Enterprise I lead us to
conclude that the right of access applies to preliminary
hearings as conducted in California.

First, there has been a tradition of accessibility to
preliminary hearings of the type conducted in California.
Although grand jury proceedings have traditionally been
closed to the public and the accused, preliminary
hearings conducted before neutral and detached
magistrates have been open to the public. Long ago in
the celebrated trial of Aaron Burr for treason, for
example, with Chief Justice Marshall sitting as trial
judge, the probable-cause hearing was held in the Hall of
the House of Delegates in Virginia, the courtroom being
too small to accommodate the crush of interested
citizens. United States v. Burr, 25 F. Cas. | (No.
14,692) (CC Va. 1807). From Burr until the present day,
the near uniform practice of state and federal courts has
been to conduct preliminary hearings in open court. ? As
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we noted [***12] in Gannett, [*11] several States
following the original New York Field Code of Criminal
Procedure published in 1850 have allowed preliminary
hearings to be closed on the motion of the [**2742]
accused. 443 U.S., at 390-397. But even in these States
the proceedings are presumptively open to the public and
are closed only for cause shown. ‘ Open preliminary
hearings, therefore, have been accorded "the favorable
judgment of experience." Globe, 457 US., at 605.

3 The vast majority of States considering the
issue have concluded that the same tradition of
accessibility that applies to criminal trials applies
to preliminary proceedings. See, e. g., Arkansas
Television Co. v. Tedder, 28] Ark. 152, 662 S. W.
2d 174 (1983); Miami Herald Publishing Co. v.
Lewis, 426 So. 2d | (Fla. 1982); R. W. Page
Corp. v. Lumpkin, 249 Ga. 576, 578-579, 292 S.
E. 2d 815, 819 (1982); Gannett Pacific Corp. v.
Richardson, 59 Haw. 224, 580 P. 2d 49. 56
(1978); State ex rel. Post-Tribune Publishing Co.
v. Porter Superior Court, 274 Ind. 408, 412 N. E.
2d 748 (1980); Ashland Publishing Co. v.
Asbury, 612 S. W. 2d 749, 752 (Ky. App. 1980);
Great Falls Tribune y. District Court, 186 Mont.
433, 608 P. 2d 116 (1980); Keene Publishing
Corp. v. Cheshire County Superior Court, 119 N.
H. 710, 406 A. 2d 137 (1979); State v. Williams,
93 N. J. 39, 459 A. 2d 641 (1983); Westchester
Rockland Newspapers v. Leggett, 48 N. ¥. 2d
430, 439, 399 N. E. 2d S18, 523 (1979); Minot
Daily News v. Holum, 380 N. W. 2d 347 (N. D.
1986); State ex rel. Dayton Newspapers, Inc. v.
Phillips, 46 Ohio St. 2d 457, 351 N. E. 2d 127
(1976); Philadelphia Newspapers, Inc. v. Jerome,
478 Pa, 484, 503, 387 A. 2d 425, 434 (1978);
Kearns-Tribune Corp. v. Lewis, 685 P. 2d 515
(Utah 1984); Herald Assn., Inc. v. Ellison, 138
Vt 529, 534, 419 A. 2d 323, 326 (1980);
Federated Publications, Inc. v. Kurtz, 94 Wash.
2d 51, 615 P. 2d 440 (1980); State ex rel. Herald
Mail Co. v. Hamilton, 165 W. Va. 103, 267 S. E.
2d 544 (1980); Williams v. Stafford, 589 P. 2d
322 (Wyo. 1979). Cf. In re Midland Publishing,
420 Mich. 148, 173, 362 N. W. 2d 580, 593
(1984) (proceedings leading to a _ person's
indictment have not been open to the public).

Other courts have noted that some pretrial
proceedings have no historical counterpart, but,
given the importance of the pretrial proceeding to
the criminal trial, the traditional right of access
should still apply. See, e. g., Jowa Freedom of

Information Council v. Wifvat, 328 N. W. 2d 920
(lowa 1983); Minneapolis Star and Tribune Co.
v. Kammeyer, 341 N. W. 2d 550 (Minn. 1983);
Richmond Newspapers, Inc. v. Commonwealth,
222 Va. 574, 281 §. E. 24 915 (1981).

4 See State v. McKenna, 78 Idaho 647, 309 P.
2d 206 (1957); Davis v. Sheriff, 93 Nev. 511, 569
P. 2d 402 (1977). Although Arizona, Iowa,
Montana, North Dakota, Pennsylvania, and Utah
have closure statutes based on the Field Code, see
Gannett, 443 U_S., at 391, in each of these States
the Supreme Court has found either a common-
law or state constitutional right of the public to
attend pretrial proceedings. See Phoenix
Newspapers, Inc. v. Superior Court, 101 Ariz.
257, 418 P. 2d 594 (1966); lowa Freedom of
Information Council v. Wifvat, supra; Great Falls
Tribune v. District Court, supra; Minot Daily
News v. Holum, supra; Commonwealth v. Hayes,
489 Pa. 419, 414 A. 2d 318 (1980); Kearns-
Tribune Corp. v. Lewis, supra.

The second question is whether public access to
preliminary hearings as they are conducted in California
plays a particularly significant positive role in the actual
functioning of the process. We have already determined
in Richmond [*12] Newspapers, Globe, and Press-
Enterprise [ that public access to criminal trials and the
selection of jurors is essential to the proper functioning
of the criminal justice system. California preliminary
hearings are sufficiently like a trial to justify the same
conclusion.

In California, to bring a felon to trial, the prosecutor
has a choice of securing a grand jury indictment or a
finding of probable cause following a preliminary
hearing. Even when the accused has been indicted by a
grand jury, however, he has an absolute right to an
elaborate preliminary hearing before a neutral
magistrate. Hawkins v. Superior Court, 22 Cal. 3d 584,
586 P. 2d 918 (1978). The accused has the right to
personally appear at the hearing, to be represented by
counsel, to cross-examine hostile witnesses, to present
exculpatory evidence, and to exclude illegally obtained
evidence. Cal. Penal Code Ann. §§ 859-866 (West
1985), § 1538.5 (West Supp. 1986). If the magistrate
determines that probable cause exists, the accused is
bound over for trial; such a finding leads to a guilty plea
in the majority of cases.

It is true that unlike a criminal trial, the California
preliminary hearing cannot result in the conviction of the
accused and the adjudication is before a magistrate or
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other judicial officer without a jury. But these features,
standing alone, do not make public access any less
essential to the proper functioning of the proceedings in
the overall criminal justice process. Because of its
extensive scope, the preliminary hearing is often the final
and most important step in the criminal proceeding.
[***13] See Waller v. Georgia, 467 U.S., at 46-47. As
the Califomia Supreme Court stated in San Jose
Mercury-News v. Municipal Court, 30 Cal. 3d 498, 511,
638 P. 2d 655, 663 (1982), the preliminary hearing in
many cases provides "the sole occasion for public
observation of the criminal justice system." See also
Richmond Newspapers, 448 U.S., at 572.

Similarly, the absence of a jury, long recognized as
"an inestimable safeguard against the corrupt or
overzealous prosecutor [*13] and against the compliant,
biased, or eccentric judge," Duncan v. Louisiana, 391
U.S. 145, 156 (1968), makes the importance of public
access to a preliminary hearing even more significant.
"People in an open society do not demand infallibility
from their institutions, but it is difficult for them to
accept what they are prohibited from observing."
Richmond Newspapers, 448 U.S., at 572.

Denying the transcript of a 41-day preliminary
hearing would frustrate what we have characterized as
the "community therapeutic value" of openness. /d., at
570. Criminal acts, especially certain violent crimes,
provoke public concern, outrage, and hostility. “When
the public is aware that the law is being enforced and the
criminal justice system is functioning, an outlet is
provided for these [**2743] understandable reactions
and emotions." Press-Enterprise I, 464 U.S., at 509. See
also H. Weihofen, The Urge to Punish 130-131 (1956);
T. Reik, The Compulsion to Confess (1959). In sum:

"The value of openness lies in the fact that people not
actually attending trials can have confidence that
standards of faimess are being observed; the sure
knowledge that anyone is free to attend gives assurance
that established procedures are being followed and that
deviations will become known. Openness thus enhances
both the basic faimess of the criminal trial and the
appearance of fairness so essential to public confidence
in the system." Press-Enterprise I, supra, at 508
(emphasis in original).

We therefore conclude that the qualified First
Amendment right of access to criminal proceedings
applies to preliminary hearings as they are conducted in
California.

B

[***LEGHRIC] [1C] [***LEdHR2B] [(2B]Since a
qualified First Amendment right of access attaches to
preliminary hearings in California under Cal. Penal
Code Ann. § 858 et seq. (West 1985), the proceedings
cannot be closed unless specific, on the record findings
are made demonstrating that “closure is essential to
preserve higher values [*14] and is narrowly tailored to
serve that interest." Press-Enterprise I, supra, at 510.See
also Globe Newspaper, 457 US., at 606-607. If the
interest asserted is the right of the accused to a fair trial,
the preliminary hearing shall be closed only if specific
findings are made demonstrating that, first, there is a
substantial probability that the defendant's right to a fair
trial will be prejudiced by publicity that closure would
prevent [***14] and, second, reasonable alternatives to
closure cannot adequately protect the defendant's fair
tnal rights. See Press-Enterprise I, supra; Richmond
Newspapers, supra, at 581.

[***LEdHR3B] [3BJThe California Supreme Court,
interpreting its access statute, concluded that “the
magistrate shall close the preliminary hearing upon
finding a reasonable likelihood of substantial prejudice."
37 Cal. 3d, at 781, 691 P. 2d, at 1032.As the court itself
acknowledged, the "reasonable likelihood" test places a
lesser burden on the defendant than the “substantial
probability" test which we hold is called for by the First
Amendment. See ibid.; see also id., at 783, 691 P. 2d. at
1033 (Lucas, J., concurring and dissenting). Moreover,
that court failed to consider whether alternatives short of
complete closure would have protected the interests of
the accused.

[***LEdHR11] [1i]In Gannett we observed:

"Publicity concerning pretrial suppression hearings such
as the one involved in the present case poses special risks
of unfairness. The whole purpose of such hearings is to
screen out unreliable or illegally obtained evidence and
insure that this evidence does not become known to the
Jury. Cf. Jackson v. Denno, 378 U.S. 368. Publicity
concerning the proceedings at a pretrial hearing,
however, could influence public opinion against a
defendant and inform potential jurors of inculpatory
information wholly inadmissible at the actual trial." 443
U.S., at 378.

{*15] But this risk of prejudice does not
automatically justify refusing public access to hearings
on every motion to suppress. Through voir dire,
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cumbersome as it is in Some circumstances, a court can
identify those jurors whose prior knowledge of the case
would disable them from rendering an impartial verdict.
And even if closure were justified for the hearings on a
motion to suppress, closure of an entire 41-day
proceeding would rarely be warranted. The First
Amendment right of access cannot be overcome by the
conclusory assertion that publicity might deprive the
defendant of that right. And any limitation must be
“narrowly tailored to serve that interest." Press-
Enterprise [, supra, at 510.

[**2744] The standard applied by the Califomia
Supreme Court failed to consider the First Amendment
right of access to criminal proceedings. Accordingly, the
judgment of the California Supreme Court is reversed.

It is so ordered.
DISSENT BY: STEVENS

DISSENT

JUSTICE STEVENS, with whom JUSTICE
REHNQUIST joins as to Part I, dissenting.

The constitutional question presented by this case is
whether members of the public have a First Amendment
right to insist upon access to the transcript of a
preliminary hearing during the period before the public
trial, even though the accused, the prosecutor, and the
trial judge have all agreed to the sealing of the transcript
in order to [***15] assure a faur trial.

The preliminary hearing transcript to which
petitioner sought access consists of 4,239 pages of
testimony by prosecution witnesses heard over eight
weeks. The testimony, contained in 47 volumes, accuses
Mr. Robert Diaz, a nurse, of murdering 12 patients in the
hospital in which he worked by injecting them with
lethal doses of a heart drug. The transcript reveals that
the defense put on no witnesses of its own.

Immediately after the Magistrate ordered the
defendant bound over for trial, defense counsel moved
that the transcript of the preliminary hearing be sealed to
protect his client's [*16] right to a fair trial. The
transcript, in the words of the Magistrate, revealed "only
one side of the story." App. 28a. The transcript also
contained the Magistrate's characterization of Mr. Diaz
as "the most dangerous type of individual there is." /d.,
at 27a. The prosecutor did not oppose this motion, and
the Magistrate, after hearing petitioner's objection,
ordered the transcript sealed.

The Superior Court trial judge denied a motion to

unseal the transcript. He found -- and the finding is
amply supported by the record -- that "there is a
reasonable likelihood that making all or any part of the
transcripts public might prejudice the defendant's right to
a fair and impartial trial." /d., at 6/a. Accord, id., at 62a.
The Magistrate had earlier rejected less restrictive
alternatives to sealing the transcript, concluding that "the
only way to protect” the defendant's “[fair trial] right
would be to seal the transcript." /d., at 37a. '

1 Inso miling, the Magistrate recognized that he
had “an affirmative constitutional duty to insure
that a defendant has a fair trial," App. 37a, under
Gannett Co. v. DePasquale, 443 U.S. 368, 378
(1979) ("To safeguard the due process rights of
the accused, a trial judge has an affirmative
constitutional duty to minimize the effects of
prejudicial pretrial publicity. And because of the
Constitution's pervasive concern for these due
process rights, a trial judge may surely take
protective measures even when they are not
strictly and inescapably necessary" (citation
omitted)).

The Court of Appeal agreed with the trial judge and
denied the peremptory writ of mandate sought by
petitioner. It rejected petitioner's assertion that "the
superior court failed to state any reasons or make a
specific finding to support the sealing order." App. to
Pet. for Cert. E-11. Instead, it confirmed the trial judge's
determinations that "the transcript is indicative of only
the prosecutorial side of the case," id., at E-14; that the
public's right of access was overborne by the "reasonable
likelihood of substantial prejudice" to "the defendant's
right to a fair trial," id., at E-9; and that "[alternatives] to
sealing the transcript would not suffice in this [*17]
case," id., at E-14. *? The California Supreme Court
similarly denied petitioner's request for a peremptory
writ of mandate, affirming that a preliminary hearing
transcript can be sealed upon a showing of a "reasonable
likelihood of substantial prejudice which would impinge
upon the right to a [**2745] fair trial." 37 Cal. 3d 772,
781, 691 P. 2d 1026, 1032 (1984).

2 Indeed, the Court of Appeal determined that
"[the] release of the transcript and employment of
these alternatives would tend to exacerbate the
existing prejudice." App. to Pet. for Cert. E-15
(emphasis added and citation omitted).

In view of the above, the trial [***16] Judge had
an obvious and legitimate reason for refusing to make
the transcript public any sooner than he did. His
decision plainly did not violate the defendant's right to a
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public trial under the Sixth Amendment, for it was the
defendant who objected to release of the transcript. See
Gannett Co. v. DePasquale, 443 U.S. 368, 383-384
(1979). In my opinion, the judge's decision did not
violate the First Amendment either.

I

Although perhaps obvious, it bears emphasis that the
First Amendment right asserted by petitioner is not a
right to publish or otherwise communicate information
lawfully or unlawfully acquired. That right, which lies at
the core of the First Amendment and which erased the
legacy of restraints on publication against which the
drafters of that Amendment rebelled, see Grosjean v.
American Press Co., 297 U.S. 233, 245-250 (1936), may
be overcome only by a governmental objective of the
highest order attainable in a no less intrusive way. See,
é. g., Smith v. Daily Mail Publishing Co., 443 U.S. 97,
101-106 (1979); Landmark Communications, Inc. v.
Virginia, 435 U.S. 829, 837-845 (1978); Oklahoma
Publishing Co. v. District Court, 430 U.S. 308, 310-312
(1977) (per curiam), Nebraska Press Assn. v. Stuart, 427
U.S. 539, 556-570 (1976); Cox Broadcasting Corp. v.
Cohn, 420 US. 469, 487-497 (1975). The First
Amendment right asserted _[*18] by petitioner in this
case, in contrast, is not the right to publicize information
in its possession, but the right to acquire access thereto.

I have long believed that a proper construction of
the First Amendment embraces a right of access to
information about the conduct of public affairs.

"As Madison wrote:Z5"A popular Government,
without popular information, or the means of acquiring
it, is but a Prologue to a Farce or a Tragedy; or, perhaps
both. Knowledge will forever govern ignorance: And a
people who mean to be their own Governors, must arm
themselves with the power which knowledge gives.' 9
Writings of James Madison 103 (G. Hunt ed. 1910).

"It is not sufficient, therefore, that the channels of
communication be free of governmental restraints.
Without some protection for the acquisition of
information about the operation of public institutions
such as prisons by the public at large, the process of self-
governance contemplated by the Framers would be
stripped of its substance.

"For that reason information gathering is entitled to
some measure of constitutional protection." Houchins v.
KQED, Inc., 438 U.S. 1, 31-32 (1978) (STEVENS, J.,

dissenting). ?

3 See Richmond Newspapers, Inc. v. Virginia,
448 U.S. 555, 586-589 (1980) (BRENNAN, J.,

concurring in Judgment); Saxbe v. Washington
Post Co., 417 US. 843, 862-864 (1974)
(POWELL, J., dissenting). In a footmote to my
separate wniting m Houchins, I appended a
quotation from Justice Stewart's dissenting
opinion in Branzburg v. Hayes, 408 US. 665,
728 (1972) (emphasis added), where he stated
that "a right to gather news, of some dimensions,
must exist." The majority agreed with this
observation, acknowledging that “news gathering
is not without its First Amendment protections,"
id, at 707, for “without some protection for
seeking out the news, freedom of press could be
eviscerated," id., at 681. See also Zemel v. Rusk,
381 US. I, 16-17 (1965) (The right to speak and
publish does not carry with it the unrestrained
right to gather information" (emphasis added)).

(*19} Neither [***17] our elected nor our
appointed representatives may abridge the free flow
(**2746] of information simply to protect their own
activities from public scrutiny. An official policy of
secrecy must be supported by some legitimate
Justification that serves the interest of the public office.
Thus, in Pell v. Procunier, 417 U.S. 817 (1974), and
Saxbe v. Washington Post Co., 417 U.S. 843 (1974), we
confirmed that the warden’s regulation of prearranged
inmate press interviews had a legitimate disciplinary and
penological basis and was "not part of an attempt by the
State to conceal the conditions in its prisons or to
frustrate the press’ investigation and reporting of those
conditions." Pell v. Procunier, 417 U.S., at 830. Accord,
Saxbe v. Washington Post Co., 417 US. at 848.
Likewise, in Gannett Co. v. DePasquale, 443 US. 368
(1979), we held that any First Amendment access right
“was given all appropriate deference by the state nisi
prius court," id., at 392, which had entered a "finding on
the record that an open suppression hearing would pose a
‘reasonable probability of prejudice to these defendants,"
id., at 376. Conversely, in Richmond Newspapers, Inc. v.
Virginia, 448 U.S. 555 (1980), a violation of the First
Amendment was established by the "total absence of any
record justification for the closure order," id. at 584
(STEVENS, J., concurring). Accord, id., at 580-581
(opinion of BURGER, C. J.). The same constitutional
infirmity afflicted the order excluding the public from
attending the testimony of minor victims in a sex-offense
trial in Globe Newspaper Co. v. Superior Court, 457
U.S. 596, 608-609 (1982) ("the record indicates that the
victims may have been willing to testify despite the
presence of the press" (footote omitted)), and the order
closing the voir dire proceedings and sealing the
transcript in Press-Enterprise Co. v. Superior Court, 464
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US. 501, 510-511 (1984) ("prolonged closure was
unsupported by findings"); id, at 5/3 ("trial judge
provided no explanation" for his [*20] “broad order");
id., at 515 (BLACKMUN, J., concurring). Cf. Waller v.
Georgia, 467 U.S. 39, 48, n. 7, 49, n. 8 (1984). *

4 In Houchins I explained why I believed that
the plaintiffs were entitled to put an end to the
warden's policy of concealing prison conditions
from the public. "Those conditions are wholly
without claim to confidentiality. While prison
officials have an interest in the time and manner
of public acquisition of information about the
institutions they administer, there is no legitimate
penological justification for concealing from
citizens the conditions in which their fellow
citizens are being confined." 438 U.S., at 35-36.
It seemed clear that an "official prison policy of
concealing such knowledge from the public by
arbitrarily cutting off the flow of information at
its source abridges the freedom of speech and of
the press protected by the First and Fourteenth
Amendments to the Constitution." Id. at 38
(footnote omitted).

But [***18} it has always been apparent that the
freedom to obtain information that the government has a
legitimate interest in not disclosing, see Globe
Newspaper Co. v. Superior Court, 457 U.S, at 621
(STEVENS, J., dissenting), is far narrower than the
freedom to disseminate information, which is "virtually
absolute" in most contexts, Richmond Newspapers, Inc.
v. Virginia, 448 U.S., at 582 (STEVENS, J., concurring).
In this case, the risk of prejudice to the defendant's right
to a fair trial is perfectly obvious. For me, that risk is far
more significant than the countervailing interest in
publishing the transcript of the preliminary hearing
sooner rather than later. Cf. Gannett Co. v. DePasquale,
443 US., at 393 (upholding closure of suppression
hearing in part because "any denial of access in this case
was not absolute but only temporary"). The interest in
prompt publication -- in my view -- is no greater than the
interest in prompt publication of grand jury transcripts.
As explained [**2747] more fully below, we have
always recognized the legitimacy of the governmental
interest in the secrecy of grand jury proceedings, and |
am umnpersuaded that the difference between such
proceedings and the rather elaborate procedure for
determining probable cause that California has adopted
strengthens the First Amendment claim to access asserted
in this case.

[*21] I

The Court nevertheless reaches the opposite
conclusion by applying the “two complementary
considerations," anfe, at 8, of "experience and logic,"
ante, at 9. In my view, neither the Court's reasoning nor
the result it reaches is supported by our precedents.

The historical evidence proffered in this case is far
less probative than the evidence adduced in prior cases
granting public access to criminal proceedings. In those
cases, a common-law tradition of openness at the time
the First Amendment was ratified suggested an intention
and expectation on the part of the Framers and ratifiers
that those proceedings would remain presumptively
open. Thus, in Richmond Newspapers, Inc. v. Virginia,
448 U.S., at 564, THE CHIEF JUSTICE explained that
"[what] is significant for present purposes is that
throughout its evolution, the trial has been open to all
who cared to observe." "[The] historical evidence
demonstrates conclusively that at the time when our
organic laws were adopted, criminal trials both here and
in England had long been presumptively open.” Jd., at
569 (emphasis added). History was relevant because it
demonstrated that "[the] Bill of Rights was enacted
against the backdrop of the long history of trials being
presumptively open. Public access to trials was then
regarded as an important aspect of the process itself." /d.,
at 575. The opinion for the Court in Globe Newspaper
Co. v. Superior Court, 457 U.S., at 605, [***19] which
also concerned the presumptive openness of a criminal
trial, relied expressly on the opinion of THE CHIEF
JUSTICE in Richmond Newspapers for the point that
criminal trials were open "at the time when our organic
laws were adopted." 448 U.S., at 569. Later, in Press-
Enterprise Co. v. Superior Court, the Court quoted the
identical passage from Richmond Newspapers, see 464
U.S., at 505, and conchided that "[public] jury selection
thus was the common practice in America when the
Constitution was [*22] adopted,” id. at 508. To dispel
any doubt regarding the significance of this evidence, we
explained that "the question we address -- whether the
voir dire process must be open -- focuses on First . . .
Amendment values and the historical backdrop against
which the First Amendment was enacted." Id., at 509, n.
8 (emphasis added). Thus, in our prior cases history
mattered primarily for what it revealed about the
intentions of the Framers and ratifiers of the First
Amendment.

In this case, however, it is uncontroverted that a
common-law right of access did not inhere in
preliminary proceedings at the time the First Amendment
was adopted, and that the Framers and ratifiers of that
provision could not have intended such proceedings to
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remain open. As Justice Stewart wrote for the Court in
Gannett Co. v. DePasquale:

"[There] exists no persuasive evidence that at
common law members of the public had any right to
attend pretrial proceedings; indeed, there is substantial
evidence to the contrary. By the time of the adoption of
the Constitution, . . . pretrial proceedings, precisely
because of the .. . concem for a fair trial, were never
characterized by the same degree of openness as were
actual trials.

"Under English common law, the public had no
right to attend pretrial proceedings. £. g., E. Jenks, The
Book of English Law 75 (6th ed. 1967) (‘It must, of
course, be remembered, that the principle of publicity
only applies to the actual trial of a case, not necessarily
to the [**2748] preliminary or prefatory stages of the
proceedings . . .‘); F. Maitland, Justice and Police 129
(1885) (The ‘preliminary examination of accused persons
had gradually assumed a very judicial form .... The
place in which it is held is indeed no “open court,” the
public can be excluded if the magistrate thinks that the
ends of justice will thus be best answered .. .'), See also
Indictable Offences Act, 11 & 12 Vict, ch. 42, § 19
(1848) (providing [*23] that pretrial proceedings
should not be deemed an open court and that the public
could therefore be excluded); Magistrates' Courts Act, 15
& 16 Geo. 6 & I Eliz. 2, ch. 55, § 4(2) (1952) (same).”
443 U.S., at 387-389 (footnotes omitted). §

[***20] Justice Stewart included in his discussion
the following quotation from Lord Ellenborough; the
Law Lord explains, in reasons as relevant today as they
were when the Bull of Rights was adopted, the historical
basis for the closure of preliminary proceedings:

"If any thing is more important than another in the
administration of justice, it is that jurymen should come
to the trial of those persons on whose guilt or innocence
they are to decide, with minds pure and unprejudiced. . .

Trials at law fairly reported, although they may
occasionally prove injurious to individuals, have been
held to be privileged. Let them continue so privileged. .

But these preliminary examinations have no such
privilege. Their only tendency is to prejudge those
whom the law still presumes to be innocent, and to
poison the sources of justice." King v. Fisher, 2 Camp.
563, 570-571, 170 Eng. Rep. 1253, 1255 (N. P. 1811).

5 Accord, Geis, Preliminary Hearings and the
Press, 8 UCLA L. Rev. 397, 406 (1961)
("Preliminary hearings in the American colonies
closely followed the prescriptions of the
sixteenth-century English statutes" (footnote

omitted)). THE CHIEF JUSTICE pointed out in
his concurring opinion in Gannett that "[at]
common law there was a very different
presumption [7 e., in favor of closure] for
proceedings which preceded the trial." 443 US,
at 394. "[No] one ever suggested that there was
any ‘right’ of the public to be present at such
pretrial proceedings as were available in that time
[that the Bill of Rights was adopted]." /d., at 396.

In the final analysis, the Court's lengthy historical
disquisition demonstrates only that in many States
preliminary proceedings are generally open to the public.
See ante, at 10-11, n. 3. In other States, numbering
California and Michigan among them, see /n re Midland
Publishing Co., [*24] 420 Mich, 148, 162, 172-174,
362 N. W. 2d 580, 588, 593-594 (1984), such
proceedings have been closed. * To paraphrase the
Court's [**2749] analysis in McMillan v. Pennsylvania,
477 U.S. 79, 90 (1986) (footnote omitted), "the fact that
the States" have adopted different rules regarding the
openness of preliminary proceedings "is merely a
reflection of our federal system, which demands
[tolerance] for a spectrum of state procedures [***21]
dealing with a common problem of law enforcement,’
Spencer vy. Texas, 385 U.S. 554, 566 (1967). That
[California's] particular approach has been adopted in
few other States does not render [its} choice
unconstitutional." [*25] As Justice Stewart
admonished: we must not "[confuse] the existence of a
constitutional right with the common-law tradition of
open... proceedings." Gannett Co. v. DePasquale, 443
U.S, at 389 n. 19. The recent common-law
developments reported by the Court are relevant, if at all,
only insofar as they suggest that preliminary proceedings
merit the “beneficial effects of public scrutiny." Cox
Broadcasting Corp. v. Cohn, 420 U.S., at 492. The
Court's historical crutch cannot carry the weight of
opening a preliminary proceeding that the State has
ordered closed; that determination must stand or fall on
whether it satisfies the second component of the Court's
test.

6 Ironically, California and Michigan are both
States in which preliminary proceedings are
generally open to the public, and are thus --
surprisingly -- part of the recent common-law
trend in favor of openness relied on by the Court.
It is only on the facts of record in this case that
the California courts ordered the transcript
sealed. Since many -- if not most -- of the state-
court decisions collected by the Court hold that
the right to a public preliminary hearing is
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personal to the accused, see, e. g., State v. Porter
Superior Court, 274 Ind. 408, 409-410, 412 N. E.
2d 748, 750 (1980), Azbill v. Fisher, 84 Nev. 414,
419, 442 P. 2d 916, 918-919 (1968), of, more
commonly, that it is overcome by a showing of
potentially prejudicial publicity equivalent to or
less than that required in California, see, e. g.,
State v. Burak, 37 Conn. Supp. 627, 630, 431 A.
2d 1246, 1248 (1981) (“likelihood of prejudice");
United States v. Edwards, 430 A. 2d 1321, 1345
(D. C. 1981) ("likelihood"), cert. denied, 455
US. 1022 (1982); Gannett Pacific Corp. v.
Richardson, 59 Haw. 224, 233, 580 P. 2d 49, 56
(1/978) (“substantial likelihood"); Westchester
Rockland Newspapers v. Leggett, 48 N. ¥. 2d
430, 442, 399 N. E. 2d 518, 525 (1979) ("strong
likelihood"); Kearns-Tribune Corp. v. Lewis, 685
P. 2d 515, 523 (Utah 1984) (“realistic likelihood
of prejudice’); Richmond Newspapers, Inc. v.
Commonwealth, 222 Va. 574, 589, 281 §. E. 2d
915, 923 (1981) (“likelihood”); Federated
Publications, Inc. v. Kurtz, 94 Wash. 2d 51, 62,
615 P. 2d 440, 446 (1980) (‘likelihood of
jeopardy"), courts in these States would
presumably have also denied access if presented
with the facts of this case. On this observation,
and in view of the fact that the reasoning of the
state courts is heavily dependent on this Court's
cases granting access to criminal proceedings
(even if they are ultimately grounded in state
law), it is remarkable that the Court finds any
historical basis for a public right of access to
preliminary proceedings on a showing in excess
of that required in California and met by the
defendant in this case.

If the Court's historical evidence proves too little,
the “value of openness," ante, at 13 (quoting Press-
Enterprise Co. v. Superior Court, 464 U.S., at 508), on
which it relies proves too much, for this measure would
open to public scrutiny far more than preliminary
hearings "as they are conducted in California" (a
comforting phrase invoked by the Court in one form or
another more than eight times in its opinion). ’ In brief,
the Court's rationale for opening the "Califomia
preliminary hearing” is that it “is often the final and most
important step in the criminal proceeding"; that it
provides "the sole occasion for public observation of the
criminal justice system’; that it lacks the protective
presence [*26] of a jury; and that closure denies an
outlet for community catharsis, Ante, at 12, 13
(quotation omitted). The obvious defect in the Court's
approach is that its reasoning applies to the traditionally

secret grand jury with as much force as it applies to
California preliminary hearings. A grand jury
indictment is just as likely to be the "final step" in a
criminal proceeding and the “sole occasion" for public
scrutiny as is a preliminary hearing. Moreover, many
critics of the grand jury maintain that the grand jury
protects the accused less well than does a legally
knowledgeable judge who personally presides over a
preliminary hearing. See Hawkins v. Superior Court, 22
Cal. 2d 584, 590, 586 P. 2d 916, 919-920 (1978)
(holding deprivation of preliminary hearing to constitute
a denial of equal protection under State Constitution in
part because “the (***22] grand jury is the total captive
of the prosecutor who, if he is candid, will concede that
he can indict anybody, at any time, for almost anything,
before any grand jury" (quoting Campbell, Eliminate the
Grand Jury, 64 J. Crim. L. & C. 174 (1973))). Finally,
closure of grand juries denies an outlet for community
rage. When the Court's explanatory veneer is stripped
away, what emerges is the reality that the California
preliminary hearing is functionally identical [**2750]
to the traditional grand jury. As THE CHIEF JUSTICE
emphasized by his quotation of Cox v. Coleridge, 1 B. &
C. 37, 49-50, 107 Eng. Rep. 15, 19-20 (1822), in his
concurring opinion in Gannett Co. v. DePasquale, 443
U.S., at 395, n. (emphasis added):

"It [the proceeding] is only a preliminary inquiry,
whether there be sufficient ground to commit the
prisoner for trial. The proceeding before the grand jury
is precisely of the same nature, and it would be difficult,
if the right exists in the present case, to deny it in that.
This being only a preliminary inquiry, and not a trial,
makes, in my mind, all the difference."

7 Given the Court's focus on the history of
preliminary proceedings in general, and _ its
reliance on the broad values served by openness,
see ante, at 13, I do not see the relevance of the
fact that preliminary proceedings in California
bear an outward resemblance to criminal trials.
To the extent that it matters that in California
“[the] accused has the right to personally appear
at the hearing, to be represented by counsel, to
cross-examine hostile witnesses, to present
exculpatory evidence, and to exclude illegally
obtained evidence," ante, at 12 (citing Cal. Penal
Code Ann. §§ 859-866 (West 1985), § 1538.5
(West 1982)), it bears mention that many other
States have reformed their grand juries to include
one or more of these procedural reforms, see W.
LaFave & J. Israel, Criminal Procedure § 15.2(b)
(1984). After today's decision, one can only
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wonder whether the public enjoys a right of
access to any or all of these proceedings as well.

The Court's reasoning -- if carried to its logical
outcome -- thus contravenes the "long-established policy
that maintains [*27] the secrecy of the grand jury
proceedings in the federal courts" and in the courts of 19
States. United States v. Procter & Gamble Co., 356 U.S.
677, 681 (1958). “Despite the fact that news gathering
may be hampered, the press is regularly excluded from
grand jury proceedings." Branzburg v. Hayes, 408 US.
665, 684-685 (1972). This Court has previously
described grand jury secrecy as "indispensable," United
States v. Johnson, 319 U.S. 503, 513 (1943), and has
remarked that "the proper functioning of our grand jury
system depends upon the secrecy of grand jury
proceedings," United States v. Sells Engineering, Inc.,
463 US. 418, 424 (1983) (quoting Douglas Oil Co. v.
Petrol Stops Northwest, 441 U.S. 211, 218 (1979)).*

8 Five reasons are commonly given for the
policy of grand jury secrecy:

“(1) To prevent the escape of those whose
indictment may be contemplated; (2) to insure the
utmost freedom to the grand jury in its
deliberations, and to prevent persons subject to
indictment or their friends from importuning the
grand jurors; (3) to prevent subomation of
perjury or tampering with the witnesses who may
testify before [the] grand jury and later appear at
the trial of those indicted by it; (4) to encourage
free and untrammeled disclosures by persons
who have information with respect to the
commission of crimes; (5) to protect the innocent
accused who is exonerated from disclosure of the
fact that he has been under investigation, and
from the expense of standing trial where there
was no probability of guilt." Douglas Oil Co. v.
Petrol Stops Northwest, 441 U.S., at 219, n. 10
(quoting United States v. Rose, 215 F.2d 617,
628-629 (CA3 1954)); United States v. Procter &
Gamble Co., 356 U.S. 677, 681, n. 6 (1958)
(same). See I]linois v. Abbott & Associates, Inc.,
460 U.S. 557, 566-567, n. 11 (1983).

In fact, the logic of the Court's access right extends
even beyond the confines of the criminal justice system
to encompass proceedings held on the civil side of the
docket as well. As Justice Stewart explained:

"If the existence of a common-law rule were the test
for whether [***23] there is a Sixth Amendment public
right to a public trial, therefore, there would be such a
right in civil as well as criminal cases... . In short, there

is no principled basis upon which a public right of access
to judicial [*28] proceedings can be limited to criminal
cases if the scope of the right is defined by the common
Jaw rather than the text and structure of the Constitution.

"Indeed, many of the advantages of public criminal
trials are equally applicable in the civil trial context... .
Thus, in some civil cases the public interest in access,
and the salutary effect of publicity, may be as strong as,
or stronger than, in most criminal cases." Gannett Co. v.
DePasquale, 443 U.S., at 386-387, n. 15,

Cf. Seattle Times Co. v. Rhinehart, 467 U.S. 20, 29-37
(1984) (newspaper not allowed [**2751] to publish
information to which it was privy as a litigant in a civil
action). Despite the Court's valiant attempt to limit the
logic of its holding, the ratio decidendi of today's
decision knows no bounds.

By abjuring strict reliance on history and
emphasizing the broad value of openness, the Court
tacitly recognizes the mmportance of public access to
government proceedings generally. Regrettably, the
Court has taken seriously the stated requirement that the
sealing of a transcript be justified by a "compelling" or
“overriding” governmental interest and that the closure
order be "narrowly tailored to serve that interest." Ante,
at 9 (quoting Press-Enterprise Co. v. Superior Court,
464 US. at 501); Press-Enterprise Co. v. Superior
Court, 464 U.S., at 510 (quoting Globe Newspaper Co.
v. Superior Court, 457 U_S., at 607). See ante, at 13-14.
This standard -- as well as the two-part test of history
and logic that formed the basis for the decision today --
originated as two "helpful principles" in JUSTICE
BRENNAN's eloquent concurrence in Richmond
Newspapers, Inc. v. Virginia, 448 U.S., at 589. That
concurrence recognized that [there] are few restrictions
on action which could not be clothed by ingenious
argument in the garb of decreased data flow," id, at 588
(quoting Zemel v. Rusk, 381 U.S. 1, 16-17 (1965)), and --
in contrast with the decision today -- stressed that "{an]
assertion of the prerogative to gather information must
accordingly be assayed by considering the information
sought [*29] and the opposing interests invaded," 448
U.S., at 588 (footnote omitted) -- a determination "as
much a matter of sensitivity to practical necessities as . . .
of abstract reasoning," ibid. The cases denying access
have done so on a far lesser showing than that required
by a compelling govemmental interest/least restrictive
means analysis, see supra, at 19-20, and cases granting
access have recognized as legitimate grounds for closure
interests that fall far short of those traditionally thought
to be "compelling," see Press-Enterprise Co. v. Superior
Court, 464 US. at S/1-312 (privacy interest of
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venirepersons sufficient reason to close presumptively
open voir dire proceeding); see also Richmond [***24]
Newspapers, Inc. v. Virginia, 448 U_S., at 600 (Stewart,
J., concurring in judgment).

The presence of a legitimate reason for closure in
this case requires an affirmance. The constitutionally
grounded fair trial interests of the accused if he is bound
over for trial, and the reputational interests of the
accused if he is not, provide a substantial reason for
delaying access to the transcript for at least the short time
before trial. By taking its own verbal formulation
seriously, the Court reverses -- without comment or
explanation or any attempt at reconciliation -- the
holding in Gannett that a "reasonable probability of
prejudice” is enough to overcome the First Amendment
right of access to a preliminary proceeding. It is
unfortunate that the Court neglects this opportunity to fit
the result in this case into the body of precedent dealing
with access rights generally. I fear that today's decision
will simply further unsettle the law in this area.

I respectfully dissent.

REFERENCES
First Amendment freedom of speech or press as giving
news media right of access to criminal proceedings

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9 Federal Procedure, L Ed, Criminal Procedure 22:804-
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23 Am Jur P] & Pr Forms (Rev), Trial, Form 63.1

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Index to Annotations, Criminal Law; Freedom of Speech
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